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              Exhibit ‘D’
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                                           UNITED STATES DISTRICT COURT
                                               DISTRICT OF COLUMBIA

               UNITED STATES OF AMERICA
                                                                No. 21-cr-399 (RDM)
                            Plaintiff,
               v.

               ROMAN STERLINGOV

                            Defendant.

                         SUMMARY OF QUALIFICATIONS AND EXPECTED TESTIMONY FOR
                                          JONELLE STILL

                     Mr. Sterlingov intends to call JONELLE STILL (“Ms. Still”) as an expert witness. Her

            qualifications, along with review and analysis of relevant records, reports, facts, and evidence set

            forth the basis for her expected testimony.

                     Ms. Still is an Air Force veteran and serves as Ciphertrace’s Director of Crypto

            Investigations, the terrorism financing SME, and is a Co-Chair of the Defenders League – a pro-

            bono crypto investigations service. In her role as recognized global expert in on-chain forensics,

            she trains: law enforcement, law firms, domestic and foreign government agencies, and financial

            crime specialists. She is a regular contributor to Ciphertrace’s quarterly Cryptocurrency Anti-

            Money Laundering report and has presented on these critical topics at the OSCE, CEPOL,

            Europol, INTERPOL and the UNODC. Jonelle is a member of the Institute of Security and

            Technology Ransomware Task Force and the Blockchain and Distributed Ledger Technologies

            Special Interest Group which focuses on Financial Crime and Human Trafficking.

                     Ms. Still’s testimony is rooted in her extensive theoretical and practical expertise in on-

            chain blockchain forensics including her work for Ciphertrace, a Mastercard company.

            Ciphertrace received seed funding from DARPA. Ms. Still’s testimony is based on her review of

            the discovery and the public Bitcoin blockchain.
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                     Ms. Still is well-versed in the diverse tools used for blockchain forensic tracing and will

            discuss her efforts to replicate the Government's tracing methods for the crucial aspects of the

            Government’s case. This includes her efforts to replicate the tracing work done by the

            Government’s proffered expert witness Luke Scholl as contained in his expert report.

                     At the July 19, 2023, hearing on Motions in Limine and Daubert challenges, as well as at

            trial, the Defense expects Ms. Still to testify regarding the following:

                         1. The Defense expects Ms. Still to testify to her and Ciphertrace’s review of the

                             Government’s blockchain tracing forensics in this case, particularly as to work

                             done using Chainalysis Reactor and relevant traces that were not included in the

                             Government’s report.

                         2. She will explain how the Government’s tracing fails to verify that Mr. Sterlingov

                             is the operator of Bitcoin Fog and how the transactions are inconsistent with his

                             ownership of the service.

                         3. She will testify as to peel chain typologies and their relevance to this case.

                         4. Ms. Still will testify to best practices in the attribution process which includes

                             collection, storage, and audits.

                         5. The Defense expects Ms. Still to testify to the inherent limitations in the

                             clustering heuristics and tracing methodology involved with the Government’s

                             use of Chainalysis Reactor and other blockchain tracing software in this case.

                         6. She will testify to the inherent limitations and misconceptions regarding the

                             heuristics used for Chainalysis’s clustering.

                         7. She will explain the difference between custodial and non-custodial wallets

                             including personally held wallets, services and exchanges.
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                         8. The Defense expects Ms. Still to testify in rebuttal to the government's expert

                             testimony.The content of Ms. Still’s rebuttal testimony is contingent on the

                             substance of testimony from the witnesses produced by the Government in the

                             Hearings and at trial.




                      Witness Attestation

                      I, Jonelle Still, have reviewed and approve the contents of this
                      filing.



                                                                    7/7/2023
                      ____________________                          ______________

                      Jonelle Still                                 Date
                      Ciphertrace
